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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________________

JEROME THOMPSON (08-A-4742)                                         REPORT AND
                                                                    RECOMMENDATION
                                     Plaintiff,
v.                                                                  12-CV-00475(A)(M)

GOVERNOR ANDREW CUOMO;
COMMISSIONER BRIAN FISCHER;
SUPERINTENDENT BRADT of Attica Corr. Fac.;
CAPTAIN ROBINSON Attica Corr. Fac.;
SGT. R. MITCHELL Attica Corr. Fac.;
CARL J. KOENIGSMANN, M.D., Deputy
 Comm. Chief Medical Officer;
C.O. TOMPOROWSKI; C.O. BOSWORTH;
C.O. MS K. SHEARING; C.O. K. MORRIS;
C.O. M. MASOCCO; C.O. MORDACZ;
DOCTOR MS GAFT; RN HAWELY;
D.D.S. HUGHES; RN WASSINK;
QUARANTINE SGT.; and C.O. Mr. C.;

                              Defendants.
_____________________________________________

               Before me are defendants’ motion for partial dismissal pursuant to Fed. R. Civ. P.

(“Rule”) 12(b)(6) [21] and plaintiff’s motions to withdraw certain defendants [24] and for

summary judgment [26]. These motions, being dispositive, have been referred to me by Hon.

Richard J. Arcara for a Report and Recommendation [22]. For the following reasons, I

recommend that plaintiff’s motion to withdraw be granted in part and denied in part, that his

motion for summary judgment be denied as premature, and that defendants’ motion for partial

dismissal be denied as moot.
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                                         BACKGROUND

               Plaintiff commenced this action pro se pursuant to 18 U.S.C. §1983 alleging

excessive force, failure to intervene, due process violations, and deliberate indifference to his

medical needs arising from his incarceration at Attica Correctional Facility in 2012. Amended

Complaint [12]. Plaintiff’s claims against defendants Andrew Cuomo, Brian Fischer, C.O. Mr. C

and D.D.S. Hughes were previously dismissed, without prejudice, pursuant to 28 U.S.C.

§1915(e) for failure to state a claim. August 2, 2013 Decision and Order [14].



                                            ANALYSIS

A.     Defendants’ Motion for Partial Dismissal and Plaintiff's Motion to Withdraw

               Defendants move for dismissal of the Amended Complaint as against defendants

Dr. Koenigsman, Superintendent Bradt, PA Graf, C.O. Morris, C.O. Shearing, C.O. Bosworth,

and RN Wassink. Defendants’ Memorandum of Law [21-1], p. 2. Defendants also move to

dismiss the deliberate indifference claim against RN Hawley to the extent it arises from the

alleged failure to provide plaintiff with blood pressure medicine. Id. According to defendants,

plaintiff’s remaining claims include “(1) excessive force against Correction Officers Masocco,

Tomporowski, and Mordacz; (2) failure to intervene against Sgt. Mitchell; (3) deliberate

indifference against RN Hawley based on alleged failure to treat back injury/pain; and (4) denial

of procedural due process against Capt. Robinson based on the disciplinary hearing.” Id.

Although these claims were not the subject of defendants’ current motion, defendants do “not

concede that Plaintiff has stated or can prove any of the four remaining claims” Id.




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                Plaintiff acknowledges that “after investigating [the] cases cited”, he “truly

agree[s]” with defendants’ motion and “agree[s] to dismiss [his] amended complaint” against

defendants Dr. Koenigsman, Superintendent Bradt, PA Graf, C.O. Morris, C.O. Shearing, C.O.

Bosworth, and RN Wassink [24]. He also seeks the dismissal of defendant Captain Robinson,

who had not moved for dismissal, and RN Hawley, who had only moved for the dismissal of

those claims arising from the alleged failure to provide plaintiff with blood pressure medicine.

Id. Therefore, I recommend that plaintiff’s motion to withdraw be granted to the extent it seeks

to dismiss the Amended Complaint as against defendants Dr. Koenigsman, Superintendent

Bradt, PA Graf, C.O. Morris, C.O. Shearing, C.O. Bosworth, RN Wassink, RN Hawley, and

Captain Robinson.

                Apart from seeking the dismissal of these defendants, plaintiff’s motion also seeks

“a trial or settlement of $25,000” [24]. I recommend that plaintiff’s request for a settlement be

denied, and that his request for a trial be denied as premature, as the remaining defendants have

not yet answered the Amended Complaint.



B.      Plaintiff’s Motion for Summary Judgment

                Plaintiff moves for summary judgment against the remaining defendants, arguing

that “there is no defense to the cause of action alleged”. [26], p. 12 of 26.1 Alternatively, he

requests a “speedy jury trial [for] the early part of the end of January 2014”. Id., p. 16 of 26.

However, since the remaining defendants have not answered the Amended Complaint, it is


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              Although plaintiff does not expressly identify which defendants against whom he is
seeking summary judgment, I assume that it is only against those defendants he has not agreed to dismiss.


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unclear what defenses, if any, to plaintiff’s claims may exist. Therefore, I recommend that this

motion be denied as premature, without prejudice to renewal. See Cusamano v. Alexander, 691

F.Supp.2d 312, 321 (N.D.N.Y. 2009) (“Plaintiff’s cross-motion for summary judgment is

premature because defendants have yet to file an answer to the amended complaint”); Estes-El v.

Town of Indian Lake, 954 F.Supp. 527, 538 (N.D.N.Y. 1997) (“With respect to that part of the

complaint which the court did not dismiss, summary judgment at this stage of the litigation

would be premature in light of the fact that State Trooper Howard has not as yet filed an answer

to plaintiff’s complaint”).



                                         CONCLUSION

               For these reasons, I recommend that plaintiff’s motion to withdraw [24] be

granted to the extent it seeks to dismiss the Amended Complaint against defendants Dr.

Koenigsman, Superintendent Bradt, PA Graf, C.O. Morris, C.O. Shearing, C.O. Bosworth, RN

Wassink, RN Hawley, and Captain Robinson, but otherwise be denied, that plaintiff’s motion for

summary judgment [26] be denied as premature, without prejudice to renewal, and that

defendants’ motion for partial dismissal [21] be denied, as moot.

               Unless otherwise ordered by Judge Arcara, any objections to this Report and

Recommendation must be filed with the clerk of this court by March 3, 2014 (applying the time

frames set forth in Rules 6(a)(1)(C), 6(d), and 72(b)(2)). Any requests for extension of this

deadline must be made to Judge Arcara. A party who “fails to object timely . . . waives any right

to further judicial review of [this] decision”. Wesolek v. Canadair Ltd., 838 F. 2d 55, 58 (2d Cir.

1988); Thomas v. Arn, 474 U.S. 140, 155 (1985).


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               Moreover, the district judge will ordinarily refuse to consider de novo arguments,

case law and/or evidentiary material which could have been, but were not, presented to the

magistrate judge in the first instance. Patterson-Leitch Co. v. Massachusetts Municipal

Wholesale Electric Co., 840 F. 2d 985, 990-91 (1st Cir. 1988).

               The parties are reminded that, pursuant to Rule 72(b) and (c) of this Court’s Local

Rules of Civil Procedure, written objections shall “specifically identify the portions of the

proposed findings and recommendations to which objection is made and the basis for each

objection . . . supported by legal authority”, and must include “a written statement either certifying

that the objections do not raise new legal/factual arguments, or identifying the new arguments and

explaining why they were not raised to the Magistrate Judge”. Failure to comply with these

provisions may result in the district judge’s refusal to consider the objections


Dated: February 14, 2014

                                                   /s/ Jeremiah J. McCarthy
                                                   JEREMIAH J. MCCARTHY
                                                   United States Magistrate Judge




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